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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

 TEAL PEAK CAPITAL, LLC;

 Plaintiff,
                                                       Civil No. 3:20-cv-1747
        v.

 ALAN BRAM GOLDMAN;                                    BREACH OF CONTRACT; SPECIFIC
                                                       PERFORMANCE   OF   CONTRACT;
 Defendants.                                           REIMBURSEMENT OF FUNDS, COSTS
                                                       AND EXPENSES



                                                COMPLAINT

TO THE HONORABLE COURT:

        COMES NOW, Plaintiff Teal Peak Capital, LLC (“TPC” and/or “Plaintiff”) through the

undersigned attorney, and respectfully alleges, states, and prays as follows:

                                     I.         NATURE OF ACTION

        1.       This action arises out of the captioned Defendant’s blatant breach of his contractual

obligations towards TPC, by negligently, willfully and in bad-faith failing to sell TPC certain

property, as will be described herein, the purchase of which TPC has the exclusive right in

accordance with the contractual agreement between the parties.

        2.       For the reasons set out above and those hereinafter set forth, TPC respectfully

requests this Honorable Court to grant the remedy prayed for in this Complaint.

                                          II.     THE PARTIES

        3.       TPC is a limited liability company organized and existing under the laws of the

Commonwealth of Puerto Rico. TPC’s registered office and mailing address is: 412 Dorado Beach

East, Dorado, Puerto Rico 00646.

        4.       The defendant, Alan Bram Goldman (“Goldman” and/or “Defendant”) is of legal

age, single, and resident of the State of Vermont, U.S.A. Upon information and belief, Goldman’s

mailing address is: 1014 Terrace St., Montpelier, VT 05602.

                              III.        JURISDICTION AND VENUE

        5.       Jurisdiction is conferred upon this Honorable Court by 28 U.S.C. §1332 because

there is complete diversity of citizenship between the Plaintiff (a Puerto Rico limited liability

company) and Defendant, a citizen of the State of Vermont, U.S.A. Furthermore, the amount in

controversy of the captioned Complaint, exclusive of interests and costs, exceeds seventy-five
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thousand dollars ($75,000.00).

         6.       Venue is proper pursuant to 28 U.S.C. §1391, in as much as the real property object

of this Complaint is located in the Commonwealth of Puerto Rico.

                                   IV.   GENERAL ALLEGATIONS

         7.       On October 23, 2020, John-Michael Grzan (“Grzan”), his wife, Namrata Khimani

(“Khimani” and together with Grzan, the “Grzan-Khimani”), and Goldman executed an Option to

Purchase Agreement, whereby Goldman granted to Grzan-Khimani an exclusive option to

purchase certain property (the “Option Agreement”) located at The Estates #13, Dorado, Puerto

Rico 00646 (the “Property”). The Property has a registry description as follows:

                  "RUSTIC: Lot located in the North Side Development, Phase One of
                  Dorado Beach Estates, Inc. Ward Higuillar of the Municipality of Dorado,
                  Puerto Rico, which is described in the inscription plan of said North Side
                  Development, Phase One with number, area and boundaries that are
                  hereinafter related: Lot number Thirteen (13) with an area of Five Thousand
                  Three Hundred Ninety Nine square meters and Four Thousand Seven
                  Hundred Thirty One Ten-Thousands of a Square Meter (5,399.4731);
                  bounding on the South, with an interior Street of the North Side of the
                  Development, Phase One Dorado Beach Estates, Inc. on the North, with lots
                  number Seventeen (17) and Eighteen (18) of the said North Side
                  Development, Phase One, on the East, with Lot number Twelve (12) of the
                  said North Side Development, Phase One; and on the West, with lot number
                  Fourteen (14) of the said North Side Development, Phase One.”

                  The Property is recorded in the Registry at page 123 of volume 46 of
                  Dorado, property number 1,746.

         8.       Grzan-Khimani subsequently designated TPC as their assignee to the Option

Agreement, as TPC would be purchasing the Property.

         9.       TPC includes a true, accurate, correct, and legible copy of the Option Agreement as

Exhibit 1 of this Complaint and incorporates it by reference herein, making it part of the Complaint

for all legal, procedural, and/or evidentiary purposes.

         10.      Pursuant to the Option Agreement, the purchase price of the Property was the total

sum of THREE MILLION ONE HUNDRED FIFTY THOUSAND DOLLARS

($3,150,000.00), payable as follows: (i) initial deposit of $200,000.00 (the “Deposit”), payable by

check, money order or wire transfer, deposited in an escrow account held by The Title Security

Group, LLC (the “Escrow Agent”), and (ii) the remaining balance of $2,950,00.00 payable to

Defendant on the closing date (the “Purchase Price”). See, Exhibit 1, Option Agreement, ¶¶3, 5.

         11.      Additionally, the Option Agreement provides that TPC had thirty (30) calendar days

from the date of signing the Option Agreement –or until November 23, 2020– to exercise the option
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(the “Exercise Period”). See, Exhibit 1, Option Agreement, ¶5. However, if closing was not

possible within the Exercise Period due to unexpected delays, TPC could extend the Exercise

Period for an additional thirty (30) days (the “Extension Period”) by paying to Defendant, before

the expiration of the Exercise Period, another deposit for the amount of $600,000.00 in addition

to the Deposit, for an aggregate amount of $800,000.00 (the “Extension Payment”), and pay the

remaining balance of $2,350,000.00 at closing. See, id. The Extension Payment would be applied

to the Purchase Price and would be used by Defendant to purchase a land located in Vermont,

U.S.A. See, id.

         12.      Further, pursuant to Clause 5 of the Option Agreement, and because the Purchase

Price was to be used by Defendant for funding a time-sensitive project, the parties agreed that the

Option Agreement was “subject to the good faith belief of the title company and attorney that

closing within the given time frame is reasonable[,]” and therefore both TPC and Defendant agreed

to “make best and reasonable efforts to provide needed material and take reasonable action

necessary to close in a timely manner.” See, Exhibit 1, Option Agreement, ¶5.

         13.      Since the signing of the Option Agreement, TPC exercised its exclusive right of

option and actively and diligently made multiple efforts to purchase the Property and close within

the Exercise Period.

         14.      However, throughout the duration of the Exercise Period –during which TPC was

ready and able to close on the Property– Defendant refused to comply with his obligations under

the Option Agreement by failing to provide TPC with the necessary documentation for closing.

         15.      Because of Defendant’s seemingly blatant efforts to not close within the Exercise

Period, TPC –prior to the expiration of such– wired the Extension Payment to the Escrow Agent,

therefore extending its exercise option for an additional thirty (30) days –or until December 23,

2020 (the “Closing Date”). Among these efforts to delay were the failure by Defendant to take

proper and timely action to ensure the closing of the sale of the Property within the original

Exercise Period –that is, by November 23, 2020.

         16.      On November 24, 2020, the Escrow Agent subsequently wired the Extension

Payment to Defendant, who is still in possession of said funds to this day.

         17.      Since then, in full compliance with its obligations under the Option Agreement,

TPC has taken all the necessary steps in order to close the purchase of the Property on or before

the Closing Date, with barely any response from Defendant to move forward.
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         18.      Due to Defendant’s unresponsiveness, on December 18, 2020, TPC sent Defendant

a letter via certified mail and electronic mail, stressing to Defendant of the Closing Date and

readiness of all the required documents as well as of the closing attorney having confirmed his

availability since December 11, 2020, and thereby requested Defendant confirm that he will be

ready to finalize the purchase of the Property on the Closing Date (the “December 18 Letter”).

         19.      TPC includes a true, accurate, correct, and legible copy of the December 18 Letter

as Exhibit 2 of this Complaint and incorporates it by reference herein, making it part of the

Complaint for all legal, procedural, and/or evidentiary purposes.

         20.      Despite all of TPC’s efforts to purchase the Property in accordance with the Option

Agreement, Defendant has refused to cooperate and to comply with his contractual obligations,

essentially refusing to sell the Property to TPC, without any legal nor justifiable explanation.

         21.      To this day, Defendant is still in possession of the Extension Payment made by

TPC, and has undisputedly failed to make his “best and reasonable efforts to provide needed

material and take reasonable action necessary to close in a timely manner”, in complete violation

of his obligations under the Option Agreement.

         22.      Clause 15 of the Option Agreement states that in the event Defendant “fails to

proceed with the closing of the sale of the Property pursuant to the terms and conditions contained

herein” after TPC exercised the right of option granted, TPC “shall be entitled to receive back the

Option Fee and pursue any equitable remedies under law.” See, Exhibit 1, Option Agreement,

¶15.

                                         V.   FIRST CAUSE OF ACTION:
                                               BREACH OF CONTRACT

         23.      TPC incorporates by reference and alleges herein each and every averment set forth

in paragraphs 1 to 22.

         24.      Defendant has failed to comply with his obligations under the Option Agreement

by refusing to cooperate and make diligent and reasonable efforts to close on the purchase of the

Property, causing both the Exercise Period and the Extension Period to lapse at the sole and

exclusive fault of Defendant.

         25.      TPC, in turn, has fully complied with its obligations under the Option Agreement

and has made multiple good-faith, diligent efforts to try to close on the purchase of the Property

by the Closing Date, and within the Exercise Period and the Extension Period.
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         26.      As a result of Defendant’s lack of diligence and seemingly deliberate conduct, TPC

has not been able to purchase the Property for which it exercised its right to do so under the Option

Agreement, and the sale of which Defendant was contractually obligated to do.

         27.      An option contract, as defined by the Supreme Court of Puerto Rico, is one whereby

a party, known as the optionor or promisor, grants to the other, the optionee, “for a fixed term and

under certain conditions, the exclusive power of deciding whether to execute a principal

contract.” Mega Media Holdings, Inc. v. Aerco Broad. Corp., 852 F. Supp. 2d 189, 200 (D.P.R.

2012) (emphasis added) (internal citations omitted). That is, an option contract is of unilateral

nature, “inasmuch as the optionee is under no obligation to purchase, while the prom[isor] has the

obligation to sell to the optionee if the latter so decides.” S.L.G. Irizarry v. S.L.G. Garcia, 155

D.P.R. 713, 722, 2001 WL 1555664, __ P.R. Offic. Trans. ___ (2001).1

         28.      As such, TPC requests this Honorable Court to order the specific performance of

the Option Agreement compelling the Defendant to execute the sale of the Property under the terms

of the Option Agreement, and to enter judgment accordingly.


                               VI. SECOND CAUSE OF ACTION:
                         REIMBURSEMENT OF EXTENSION PAYMENT, COSTS AND
                                           EXPENSES


         29.      TPC incorporates by reference and alleges herein each and every averment set forth

in paragraphs 1 to 28.

         30.      Despite TPC’s full compliance and best efforts to proceed with the closing of the

Property, Defendant has breached his obligations under the Option Agreement by failing to

proceed with such after TPC exercised its right of option.

         31.      TPC has the right to demand Defendant the specific performance of the Option

Agreement, inasmuch as Defendant has a contractual obligation to sell the Property to TPC once

the option was exercised.

         32.      Alternatively, in the event that specific performance is impossible, Defendant is

obligated to return to TPC the Extension Payment, in accordance with Clause 15 of the Option

Agreement.



1
  For reasons unknown, the citation for the official translation is not available on Westlaw, though the English
translation is. A true and exact copy of the Opinion is attached herein as Exhibit 3.
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         33.      Further, TPC has incurred in significant costs and expenses in putting together all

the necessary documentation in exercising its right of option for purchasing the Property, the sale

of which has not been closed due to the exclusive fault of Defendant and his breach of his

contractual obligations.

         34.      Therefore, in the event that specific performance is impossible, and in addition to

the return of the Extension Payment, TPC hereby requests this Honorable Court to order Defendant

to reimburse TPC for all the actual costs and expenses incurred in the preparation and coordination

for the closing of the sale of the Property that was never consumed due to the exclusive fault of

Defendant.

                                                VII. PRAYER

         WHEREFORE TPC respectfully demands judgment as follows:

         a. Determine that Defendant breached his obligations under the Option Agreement;

         b. Order Defendant the specific performance of the Option Agreement therefore

               compelling the sale of the Property to TPC;

         c. Enter an Order prohibiting the Defendant from alienating the Property to any third

               party, the formal request of which will be filed promptly;

         d. Alternatively, that in the event that specific performance is impossible, Order

               Defendant to reimburse TPC: (i) the Extension Payment in accordance with Clause 15

               of the Option Agreement; and (ii) the actual costs and expenses incurred in the

               preparation and coordination for the closing of the sale of the Property that was never

               consumed due to the exclusive fault of Defendant;

         e. Award TPC all reasonable costs and attorneys’ fees incurred in the filing of the instant

               Complaint;

         f. Grant all of TPC’s claims and any additional remedy at law or equity pursuant to the

               facts pled herein.

         RESPECTFULLY SUBMITTED.

         In San Juan, Puerto Rico this 24th day of December 2020.



         [SIGNATURE PAGE FOLLOWS]
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